                      Case 08-92380   Filed 05/24/13   Doc 208

                                                                   FILED
1
                                                                 MAY 24 2013
2
                                POSTED ON WEBSITE
                                                         UNITED STATES BANKRUPTCY COURT
 3                             NOT FOR PUBLICATION        EASTERN DISTRICT OF CALIFORNIA

 4
 5                     UNITED STATES BANKRUPTCY COURT

 6                     EASTERN DISTRICT OF CALIFORNIA

 7

 8
 9 In re                                 Case No. 08-92380-E-7
                                         Docket Control Nos.
10 NICHOLAS GRIGGS and                     KJL-4
    KATHRYN B. GRIGGS,
11
                    Debtors.
12
13
     This memorandum decision is not approved for publication and may
14   not be cited except when relevant unde.r the doctrine of law of the
     case or the rules of claim preclusion or issue preclusion.
15
16                    NEMORANDUM OPINION AND DECISION
               STIPULATION RE PERSONAL INJURY CLAIM PROCEEDS
17                          DOCKET ENTRY NO. 207

18         On May 7, 2013, the court filed a Scheduling Order in
19 connection with the Trustee's Objection to Claim of Exemption,
20 DCN MGO-7, and the Motion for Attorneys' Fees filed by Special
21 Counsel, DCN KJL-4. With respect to the Objection to Claim of
22 Exemption, the court previously entered an order disallowing the
23 Debtors' claim of exemption in the Personal Injury Claim and
24 Proceeds specified in the exemption ("Personal Injury Claim") to
25 the extent that the amount (unstated on the Amended Schedule C)
26 exceeded the exemption permitted under California Code of Civil
27 Procedure § 703.140(b) (11) (E) . Order, Dckt. 126. No proceedings
28 for either contested matter are pending.
                      Case 08-92380   Filed 05/24/13   Doc 208



 1       The Scheduling Order specified two time periods for the

 2 parties.    With respect to the exemption in an unstated amount
 3 claimed in the Personal Injury Claim, the Debtors were required to
 4 file and serve by June 1, 2013, an appropriate proceeding for the
 5 court to determine what specific amount,' if any, could properly be
 6 claimed as exempt. Further, the Trustee, Special Counsel for the
 7 Trustee, and any other parties in interest were required to file
 8 and serve by June 30, 2013, an appropriate proceeding, if any,
 9 asserting any right for the Debtors' exempt portion of the
10 $120,000.00 Personal Injury Claim settlement proceeds to be liable
11 for the costs of prosecuting that claim. Failure to timely file
12 such respective proceeding would be deemed a determination that no
13 such exemption or liability for costs existed.
14       On May 13, 2013, the Debtors, Chapter 7 Trustee, and Special
15 Counsel for the Trustee filed a Stipulation resolving their
16 competing interests in the remaining $90,000.00 of the settlement
17 proceeds ($30,000.00 having been used to pay medical and other lien
18 claims) . Stipulation, Dckt 207. The Stipulation provides for the
19 interests in the remaining $90,000.00 of settlement proceeds to be
20 I disbursed as follows:
21       A.   $35,541.28 to be paid to the Debtors as the total amount
              of the exemptions that they claim in the Settlement
22            Proceeds.
23       B.   $44,028.00 is to be paid to Scott Vanwagenen, Special
              Counsel to the Trustee, for fees previously approved by
24            the court.
25       C.   The parties shall bear their own attorneys' fees, costs,
              and expenses in connection with the claims of exemption,
26            Special Counsel Fee Application, Counter-Motion for
              Turnover of Monies the Debtors, and the Stipulation.
27
         D.   The Court's May 7, 2013 Scheduling Order is to be
28            vacated.

                                        2
                     Case 08-92380   Filed 05/24/13   Doc 208



 1       The court first notes that the Trustee has represented he is
 2 holding $90,000.00 in settlement proceeds.                   The Stipulation

 3 expressly accounts for $79,569.28 of the settlement proceeds. It
 4 appears that implicitly the Stipulation provides that the Debtors

 5 will be allowed an exemption of $35,541.28 in the settlement
 6 proceeds and that $54,458.72 of the proceeds belongs to the
 7 bankruptcy estate free and clear of any exemption claim. Of this
 8 amount, $44,028.00 is to be paid to Special Counsel for his allowed
 9 fees (presuming the estate is administratively solvent) and the
10 balance of the proceeds, $10,430.72, are unencumbered monies of the
11 estate to be disbursed by the Trustee.
12               PRESENTATION OF STIPULATION TO THE COURT

13       The Stipulation has been filed with the court and it is not
14 connected to any pending motion seeking relief from the court. No
15 notice of the Stipulation has been provided to creditors or the

16 United States Trustee.     No copies of the Stipulation have been
17 served on the United States Trustee or any parties requesting

18 special notice.
19       The substance of the Stipulation is for the Debtor to waive
20 the exemption previously asserted under California Code of Civil
21 Procedure § 704.140(b) (11) (E) in 100% of the Personal Injury Claim
22 and Proceeds thereof. The Debtors continue to claim the $35,541.28
23 of the Personal Injury Claim exempt pursuant to California Code of
24 Civil Procedure §§ 703.140(b) (5) and (11) (D) . Amended Schedule C
25 filed February 16, 2010, Dckt. 115.                No objection to this,

26 $35,541.28 in exemptions was filed by the Trustee, creditors, or

27 any other party in interest.            The time for objecting to this

28 exemption claimed on February 16, 2010 has expired.

                                       3
                          Case 08-92380    Filed 05/24/13   Doc 208



 1           While at first blush it may appear that the parties are
 2 entering into a settlement to compromise their respective rights
 3 for which court approval is required (Fed. R. Bankr. P. 9019), such
 4 is not the case. The Trustee is not waiving or compromising any
 5 rights or interests of the Estate.                  The Debtors have c1imed

 6       $35,541.28 in exemptions in the remaining $90 1 000.00 of proceeds
 7 from the settlement of the Personal Injury Claim. No objection
 8 having been filed, the Debtors are entitled to the monies claimed
 9 as exempt.        Schwab v.   Reilly,   130 S.Ct. 2652, 2657 (2010)

10            The court has set a deadline of June 30, 2013, in the event

11   I   that the Trustee, Special Counsel, or other party in interest
12 designated by the court, believed that a bona fide legal theory
13 existed by which the portion of the Personal Injury Claim
14   I   settlement proceeds claimed exempt by the Debtors could be
15 surcharged or otherwise be called upon to pay for the expenses of
16 obtaining the Settlement. At the point in time of the Scheduling
17 Order, given that the Debtors were claiming all of the settlement
18 proceeds exempt, there existed the possibility of such claims being
19 II asserted.
20            Under the terms of the Stipulation, the Debtors have waived
21 I any exemption in all amounts in excess of $35,541.28, which is the
22 dollar amount of exemption which the Trustee, Special Counsel, and
23 all creditors were on notice when the estate embarked upon
24 asserting the Personal Injury Claim.                 The court interprets the

25 Trustee's and Special Counsel's participation in the Stipulation to
26 be a statement that they have determined that no legally reasonable
27 basis exists for asserting claims against the Debtors' $35,541.28
         in exempt proceeds in light of the estate receiving all amounts in

                                             ru
                       Case 08-92380   Filed 05/24/13   Doc 208



 1 excess of the exemption. In this case, electing not to pursue a
 2 possible expense recovery under the circumstances is not
 3 compromising the rights of the estate as part of a settlement.
 4   Scheduling Order Dates

 5         The Stipulation provides that the court shall vacate the
 6 June 1, 2013 and June 30, 2013 dates in the Scheduling Order.       The

 7 court vacates the Scheduling Order, Dckt. 203, it having been

 8 rendered moot by the Stipulation.
 9   Ruling

10         Because the Chapter 7 Trustee is holding the $90,000.00 of
11 settlement proceeds and cannot disburse them without further order
12 of the court (Order Approving Compromise, Dckt. 170), the present
13 motion merely requests a supplemental order for the release of the
14 monies. Pursuant to the Stipulation, Order Approving Compromise
15 (DCN:KJL-3, Dckt. 170), Order on Objection to Claim of Exemptions
16 (DCN:MGO-7, Dckt. 126), and Order on Application for Attorneys Fees
17 by Scott A. Vanwagenen, Special Counsel to the Trustee, (DCN: KJL-
18 4, Dckt. 200); the court shall enter an order authorizing the
19 Trustee to disburse the $90,000.00 of proceeds from the Personal
20 Injury Claim as follows:
21         1.   $35,541.28 to the Debtors in full satisfaction of all

22              claims of exemption in the Personal Injury Claim and all

23              proceeds thereof; and
24         2.   The balance of the Personal Injury Claim settlement
25              proceeds as provided under Chapter 7 of the Bankruptcy

26              Code, including the immediate payment of $44,028.00 to
27              Scott A. Vanwagenen allowed as Special Counsel Fees.

28   ///


                                         5
                    Case 08-92380   Filed 05/24/13   Doc 208




 1      The court shall issue an order consistent with this Ruling.
 2 This Memorandum Opinion and Decision constitutes the court's
 3 findings of fact and conclusions of law with respect to the
 4 Stipulation and the order entered pursuant hereto.

 5 Dated: May,t/, 2013
 6
                                                               El


 7
                                    RN-PLD'. SARGIS, Jude /
 8                                  United Stes\ankruptcy/ C

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                          Case 08-92380       Filed 05/24/13     Doc 208
This document does not constitute a certificate of service. The parties below will be served a
separate copy of the attached document through the BNC.


Kathryn Griggs
6658 Garner Place
Valley Springs, CA 95252

Nicholas Griggs
6658 Garner Place
Valley Springs, CA 95252

Michael McGranahan
P0 Box 5018
Modesto, CA 95352

Office of the U.S. Trustee
Robert T Matsui United States Courthouse
5011 Street , Room 7-500
Sacramento, CA 95814

Michelle Oleksa
8939 N Chestnut Ave #404
Fresno, CA 93720

Estela Pino
800 Howe Ave #420
Sacramento, CA 95825
